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~’ IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF PENNSYLVANIA | , CLERK U.S. DISTRICT COUR
WEST. DIST. OF PENIVSYLVANI

UNITED STATES OF AMERICA
v. . Criminal No. 20 ~ 6c
JOSHUA D. SPRINGER

INFORMATION MEMORANDUM
oo

AND NOW comes the United States of America, by its attorneys, Scott W. Brady, to

United States Attorney for the Western District of Pennsylvania, and Lee J. Karl, Assistant United
States Attorney for said District, and. submits this Information Memorandum to the Court:
J. THE INFORMATION oe 3

A one-count information was filed against the above-named defendant for an

alleged violation of federal law:

COUNT OFFENSE/DATE TITLE/SECTION

False Writing or Document to the
1 Government 18 U.S.C. § 1001(a)(3)
August 21, 2017 - oo
Il. ELEMENTS OF THE OFFENSE
A. As to Count 1:
In order for the crime of False Writing or Document to the Government, in violation

|
of 18 U.S.C. § 1001(a)(3), to be established, the government must prove all of the following |
|
essential elements beyond a reasonable doubt: |

1. That the defendant used a writing or document.
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Til. PENALTIES
A. As to Count 1: False Writing or Document to the Government (18
U.S.C. § 1001(a)(3)):
1. Individuals - The maximum penalties for individuals are:
(a) imprisonment of not more than 5 years (Title 18 U.S.C. § 1001);
(b) a fine not more than the greater of;
(1) $250,000 (18 U.S.C. § 3571(b)(3)):

or

(2) an alternative fine in an amount not more than the greater of
twice the gross pecuniary gain to any person or twice the pecuniary loss to any person other than

the defendant, unless the imposition of this alternative fine would unduly complicate or prolong:

the sentencing process (18 U.S.C. § 3571(d));

(c) a term of supervised release of not more than three (3) years (18

U.S.C. § 3583);
(d) Any or all of the above.

IV. MANDATORY SPECIAL ASSESSMENT
A mandatory special assessment of $100.00 must be imposed at each count upon
which the defendant is convicted, pursuant to 18 U.S.C. § 3013. °-
V. RESTITUTION

Not applicable’in this case.
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United States v. Waters, 457 F.2d 805 (3d Cir. 1972); United States v.

 

London, 550 F.2d 206 (5th Cir. 1976); 1 L. Sand, J. Siffert, W. Loughlin, S. Reiss, Modern Federal

Jury Instructions, 936.01 (1989).

2. That the writing or document contained a false or fictitious statement or
entry. "
United States v. Milton, 602 F.2d 231 (9th Cir. 1979); Paternostro v. United
States, 311 F.2d 298 (Sth Cir. 1962); Morgan v. United States, 309 F.2d 234 (D.C. Cir. 1962); 1
L. Sand, J. Siffert, W. Loughlin, S. Reiss, Modern Federal Jury Instructions, 936.01 (1989).
3. That the statement or entry was material.

United States v. Gerber, 760 F.2d 68 (3d Cir.), cert. denied, 474 U.S. 988

(1985); United States v. Hansen, 772 F.2d 940 (D.C. Cir. 1985), cert. denied, 106 S. Ct. 1262

 

(1986); 1 L. Sand, J. Siffert, W. Loughlin, S. Reiss, Modern Federal Jury Instructions, 936.01
(1989).

4, _That the defendant knew that the writing or document contained a false or
fictitious or fraudulent statement or entry, and knowingly and willfully used the writing or
document. .

United States v. Miller, 658 F.2d 235 (4th Cir. 1981); United States _v.
Mekjian, 505 F.2d 1320 (5th Cir. 1975); United States v. West, 666 F.2d 16 (2d Cir. 1981): LL.
Sand, J. Siffert, W. Loughlin, S. Reiss, Modern Federal Jury Instructions, 136.01 (1989).

5. That the document or writing was used in a matter within the jurisdiction of
the executive, legislative or judicial branch of the Government of the United States.

United States v. Miller, 658 F.2d 235 (4th Cir. 1981); United States v. West,
666 F.2d 16 (2d Cir. 1981); United States v. Mekjian, 505 F.2d 1320 (Sth Cir. 1975); 1 L. Sand, J.

Siffert, W. Loughlin, S. Reiss, Modern Federal Jury Instructions, 36.01 (1989).
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VI. FORFEITURE
Not applicable in this case.
Respectfully submitted,

SCOTT W. BRADY
United States Attorney —

LAKE

LEE J. KARL
Assistant U.S. Attorney
PA ID No. 87856
